                Case 5:20-cv-00355-R Document 123 Filed 09/22/22 Page 1 of 1




                                 COURTROOM MINUTE SHEET

                                                                           DATE: September 22, 2022


CIVIL NO. CIV-20-355-R

Randy Blake Patterson, M.D. -vs- Raymond A. Cohlmia

TOTAL TIME 30 minutes
PROCEEDINGS Hearing on Motion for Sanctions [Doc. No. 101]

JUDGE DAVID L. RUSSELL           DEPUTY KIRA MURPHEY                  REPORTER Sherri Grubbs

PLF COUNSEL Lindsey Mulinix Ewert; Rand C. Eddy

DFT COUNSEL: Jordan R. Dennis; Michael Burrage; Dan Weitman


Cause comes on for hearing as above stated. Parties appear as above stated. Statements of counsel
heard. The Motion for Sanctions [Doc. 101] is DENIED.
